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 Michelle Hartmann                                Debra A. Dandeneau (Admitted pro hac vice)
 State Bar No. 24032402                           Blaire Cahn (Admitted pro hac vice)
 BAKER & MCKENZIE LLP                             BAKER & MCKENZIE LLP
 1900 North Pearl, Suite 1500                     452 Fifth Ave
 Dallas, Texas 75201                              New York, NY 10018
 Telephone: 214-978-3000                          Telephone: 212-626-4875
 michelle.hartmann@bakermckenzie.com              debra.dandeneau@bakermckenzie.com
                                                  blaire.cahn@bakermckenzie.com
 Counsel for Scott Ellington and Isaac Leventon

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   In re:
                                                           Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                 Reorganized Debtor.                       Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                 Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                 Defendants.
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                  NOTICE OF ISSUANCE OF SUBPOENA TO
           PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
              PERMIT INSPECTION OF PREMISES TO DAVID KLOS


       PLEASE TAKE NOTICE that Defendants, Scott Ellington and Isaac Leventon, by and

through their attorneys of record, intend to serve the Subpoena attached hereto as Exhibit “A,”

pursuant to Rule 45 of the Federal Rules of Civil Procedure, as made applicable by Rule 9016 of

the Federal Rules of Bankruptcy Procedure, on third-party, David Klos.




 Dated: January 13, 2023

 By: /s/ Michelle Hartmann                         Debra A. Dandeneau
 Michelle Hartmann                                 Blaire Cahn
 State Bar No. 24032402                            BAKER & MCKENZIE LLP
 BAKER & MCKENZIE LLP                              452 Fifth Ave
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 Facsimile: 214-978-3099                           Email: blaire.cahn@bakermckenzie.com
 Email: michelle.hartmann@bakermckenzie.com        (Admitted pro hac vice)

                                                   Counsel for Scott Ellington and Isaac Leventon




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                               CERTIFICATE OF SERVICE

       I certify that on January 13, 2023, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                   /s/ Michelle Hartmann
                                                   Michelle Hartman




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                                  EXHIBIT “A”




                                                                                      1
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
                                                            Document               PageInspection
                                                                                             5 ofin 15
                                                                                                    a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
  _________________________________________
                                   Northern District of _________________________________________
                                                         Texas
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                             19-34054-sgj
                                                                                    Case No. _____________________
          (Complete if issued in an adversary proceeding)
Mark S. Kirschner, as Litigation Trustee of the Litigation                                  11
                                                                                    Chapter ___________
Sub-Trust,
_________________________________________
                                   Plaintiff
                          v.                                                                       21-03076-sgj
                                                                                    Adv. Proc. No. ________________
James D. Dondero, et al.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
       David Klos
                                   (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE * Baker & McKenzie LLP                                                                              DATE AND TIME
             1900 North Pearl St., Suite 1500                                                                                       February 13, 2023 at 9:00 a.m.
             Dallas, TX 75201
                * In lieu of delivery of hard-copy documents, you may electronically deliver the documents to counsel listed in Exhibit 1.
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                     DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        January 13, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR    /s/ Michelle Hartmann
                                    ________________________                               ________________________
                                    Signature of Clerk or Deputy Clerk                          Attorney’s signature
                                                                                            Michelle Hartmann
 The name, address, email address, and telephone number of the attorney representing (name of party)
 See Exhibit 1 attached hereto
 ____________________________          , who issues or requests this subpoena, are:
 See Exhibit 1 attached hereto
                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
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                                                                                           6 of in15a Bankruptcy Case or Adversary Proceeding) (Page 2)

                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                               Server’s signature

                                                                                  ________________________________________________
                                                                                                            Printed name and title


                                                                                  ________________________________________________
                                                                                                                Server’s address


Additional information concerning attempted service, etc.:
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                                                         Document                Page  Inspection
                                                                                           7 of in15a Bankruptcy Case or Adversary Proceeding) (Page 3)
                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it .


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                         Attachment A


                                         DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.
      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
      necessary to bring within the scope of the discovery request all responses that might
      otherwise be construed to be outside of its scope. The use of the singular form of any word
      includes the plural and vice versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the
      usage of the term “documents or electronically stored information” in Fed. R. Civ. P.
      34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of
      this term. “Document” shall be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term
      “including” shall be construed as if followed by the phrase “but not limited to,” irrespective
      of whether such phrase is explicitly stated or not.

   4. “Acis” means Acis Capital Management, L.P., Acis Capital Management GP, LLC, and
      any of their predecessors, successors, parents, subsidiaries, affiliates, agents, and counsel,
      including, but not limited to, Joshua Terry, and any attorneys at Winstead PC (including
      attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
      Dunn Group, PC (including attorney Brian Shaw), and Carrington, Coleman, Sloman &
      Blumenthal, L.L.P. (including attorney Brian Shaw).

   5. “Acis Transactional Documents” means any transactional documents executed on behalf
      of Acis, including, but not limited to:

           a. Promissory Note from Highland Capital Management, L.P. to Acis Capital
              Management, L.P. in the amount of $12,666,446, dated October 7, 2016;

           b. Agreement for Assignment and Transfer of Promissory Note between Acis Capital
              Management, L.P., Highland Capital Management, L.P., and Highland CLO
              Management, Ltd., dated November 3, 2017;

           c. Assignment and Transfer Agreement, by and between Acis Capital Management,
              L.P., Highland Capital Management, L.P. and Highland CLO Management, Ltd.,
              dated November 3, 2017;

           d. Agreement for Purchase and Sale of CLO Participation Interests by and between
              Acis Capital Management, L.P. and Highland Capital Management, L.P., dated
              October 7, 2016;



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          e. Third Amended and Restated Sub-Advisory Agreement by and between Acis
             Capital Management, L.P. and Highland Capital Management, L.P., dated March
             17, 2017;

          f. Fourth Amended and Restated Shared Services Agreement by and between Acis
             Capital Management, L.P. and Highland Capital Management, L.P., dated March
             17, 2017;

          g. Portfolio Management Agreement, by and between Acis Loan Funding, Ltd. and
             Highland HCF Advisor, Ltd., dated October 27, 2017;

          h. Agreement for Assignment and Transfer of Interests by and between Acis Capital
             Management, L.P. and Highland CLO Holdings, Ltd., dated December 19, 2017;

          i. Agreement by and between Mizuho Securities USA, LLC and Debtor affiliates,
             dated November 15, 2017;

          j. Assignment, Transfer, and Amended Agreement, by and between Acis Capital
             Management, L.P., Highland CLO Holdings, Ltd., Acis CLO Management, LLC,
             Acis CLO Management, GP, LLC, Acis CLO Management Intermediate Holdings
             II, LLC, dated December 19, 2017;

          k. Acknowledgement and Waiver, by and between Highland Capital Management,
             L.P. and Highland CLO Management, Ltd., dated January 19, 2018;

          l. ACIS CLO 2014-3 LTD and ACIS CLO 2014-3 LLC Notice of Optional
             Redemption, dated January 31, 2018;

          m. Assignment, Transfer, and Amendment Agreement by and between the Dugaboy
             Investment Trust, Mark K. Okada, Neutra, Ltd., and Acis Capital Management, GP,
             LLC, dated as of December 19, 2017; and

          n. ACIS CLO 2014-3 LTD and ACIS CLO 2014-3 LLC Notice of Withdrawal of
             Proposed Supplemental Indenture and Optional Redemption, dated January 31,
             2018.

   6. “Acis Transactions” means any transactions related to, or reflected by, any of the Acis
      Transactional Documents.

   7. “CLO Holdco Transaction” means the transactions described in Complaint ¶¶ 131 – 136.

   8. “Complaint” means the Amended Complaint and Objection to Claims filed by Plaintiff in
      Marc S. Kirschner, as Litigation Trustee of the Litigation Sub-Trust v. Dondero e al.,
      Adversary Proc. No. 21-03076-sgj, pending in the United States Bankruptcy Court for the
      Northern District of Texas, Dkt. No. 158 (and as amended from time to time).

   9. “Crusader Litigation” means the arbitration between the Redeemer Committee of the
      Highland Crusader Fund and HCMLP, as well litigation filed by the Redeemer Committee


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      against HCMLP in Delaware, Bermuda, and/or the Cayman Islands to confirm the
      arbitration award and/or obtain related relief.

   10. “HCMLP” or “Debtor” means Highland Capital Management, L.P.

   11. “Highland Bankruptcy” means the proceeding captioned, In re Highland Capital Mgmt.,
       L.P., Case No. 19-35054-sgj11 (Bankr. N.D. Tex. Feb. 13, 2020); In re Highland Capital
       Mgmt., L.P., Case No. 19-12239 (CSS) (Bankr. D. Del. Dec. 4, 2019).

   12. “Highland Party” means Highland Capital Management, L.P., any of its partners, general
       partners, subsidiaries, affiliates, managed or advised funds or accounts, employees, or
       professionals, including, but not limited to, Pachulski Stang Ziehl & Jones LLP,
       Development Specialists Inc., James Seery, Russel Nelms, and John Dubel.

   13. “Redeemer Committee” means the Redeemer Committee of the Highland Crusader Fund.

   14. “Sentinel” means Sentinel Reinsurance, Ltd.

   15. “Sentinel Transfer” means the alleged transfers to Sentinel referenced in Complaint ¶¶ 76
       – 79 and 99 – 100.

   16. “UCC Party” means the Official Committee of Unsecured Creditors in the Highland
       Bankruptcy including each of its agents, members, and their respective agents. This
       specifically includes, but is not limited to, Sidley Austin LLP, FTI Consulting, Inc., any
       representative of Acis Capital Management, L.P., including Winstead, P.C. (including
       attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
       Dunn Group, PC (including attorney Brian Shaw), Carrington, Coleman, Sloman &
       Blumenthal, L.L.P. (including attorney Brian Shaw), the Redeemer Committee, Jenner &
       Block LLP (including attorney Terri Mascherin), GCM Grosvenor, Grosvenor Capital
       Management LP, Eric Felton, Burke Montgomery, Stuart Robertson, UBS AG London
       Branch and UBS Securities LLC, including its counsel Latham & Watkins LLP (including
       attorney Andrew Clubok), Meta-e Discovery, LLC, Paul McVoy, and Morrison Cohen
       LLP.

   17. “You” means David Klos and your agents and attorneys.



                                REQUESTED DOCUMENTS

   1. All documents and communications exchanged between You and James Dondero.

   2. All documents and communications exchanged between You and Mark Okada.

   3. All documents and communications exchanged between You and John Honis.

   4. All documents and communications exchanged between You and Scott Ellington.



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   5. All documents and communications exchanged between You and Isaac Leventon.

   6. All documents and communications exchanged between You and Frank Waterhouse.

   7. All documents and communications exchanged between You and Thomas Surgent.

   8. All documents and communications exchanged between You and Kristin Hendrix.

   9. All documents and communications exchanged between any Highland Party and any UCC
      Party including, but not limited to, any documents and communications exchanged
      between You and any UCC Party.

   10. All documents and communications exchanged between You and James Seery.

   11. All documents and communications exchanged between You and John Dubel.

   12. All documents and communications exchanged between You and Russell Nelms.

   13. All documents and communications related to the negotiations of, or consideration
       exchanged for, any release, limitation of liability, indemnity, tolling agreement, or
       covenant not to sue provided to You by any Highland Party.

   14. All documents and communications related to the payment to You (or any company or
       entity in which You own an interest) of any compensation, salary, bonus or deferred
       compensation at any time from 10/16/2019 to the present.

   15. All documents and communications related to the drafting of any Acis Transactional
       Document.

   16. All documents and communications related to any Acis Transaction.

   17. All documents and communications related to the value, financial condition, assets,
       liabilities, or solvency of Acis.

   18. All documents and communications related to the allegations in the Complaint regarding
       Acis, including in ¶¶ 67 – 72, 102, 208 – 212, and 423 – 424.

   19. All documents and communications related to the Crusader Litigation, including any
       calculations or valuation of the net or gross value of the arbitration award issued in the
       Crusader Litigation.

   20. All documents and communications related to the Redeemer Committee.

   21. All documents and communications related to the Sentinel Transfer.

   22. All documents and communications related to the CLO Holdco Transaction.

   23. All documents and communications related to the finances, investments, assets, liabilities,
       or solvency of HCMLP.


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   24. Documents sufficient to identify any attorneys You personally have retained for any matter
       related to or arising out of the Highland Bankruptcy, including any executed retention
       letters.

   25. Any joint defense agreement, common interest agreement, or documents sufficient to
       identify any joint defense agreement, common interest agreement or any other privilege
       You allegedly share with any Highland Party, any UCC Party, or any other related person
       or entity.




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                                              Exhibit 1

       The name, address, email address, and telephone number of the attorneys representing the parties
who issue or request this subpoena are:


                                        By: /s/ Michelle Hartmann
                                            Michelle Hartmann
                                            State Bar No. 24032402
                                            BAKER & MCKENZIE LLP
                                            1900 North Pearl, Suite 1500
                                            Dallas, TX 75201
                                            Telephone: 214-978-3000
                                            michelle.hartmann@bakermckenzie.com
                                             and
                                             Debra A. Dandeneau (Admitted pro hac vice)
                                             Blaire Cahn (Admitted pro hac vice)
                                             BAKER & MCKENZIE LLP
                                             452 Fifth Ave
                                             New York, NY 10018
                                             Telephone: 212-626-4875
                                             debra.dandeneau@bakermckenzie.com
                                             blaire.cahn@bakermckenzie.com
                                             Counsel to Scott Ellington and Isaac Leventon


                                         By: /s/ Michael Aigen
                                            Deborah R. Deitsch-Perez
                                            State Bar No. 24036072
                                            Michael P. Aigen
                                            State Bar No. 24012196
                                            Stinson LLP
                                            2200 Ross Avenue, Suite 2900
                                            Dallas, TX 75201
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